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        United States Court of Appeals
             for the Fifth Circuit
                         ___________

                          No. 22-30362
                         ___________

In re Eastern Pacific Shipping PTE, Limited, doing business as
EPS,

                                                               Petitioner.
             ______________________________

                  Petition for a Writ of Mandamus
                 to the United States District Court
                for the Eastern District of Louisiana
                      USDC No. 2:18-CV-13556
             ______________________________

Before Southwick, Graves, and Costa, Circuit Judges.
Per Curiam:
      IT IS ORDERED that the petition for writ of mandamus is
DENIED.




                                  A True Copy
                                  Certified order issued Jul 11, 2022


                                  Clerk, U.S. Court of Appeals, Fifth Circuit
